The note sued on was payable to Clark, and the plaintiff alleged that his testator, Herriet, was the owner thereof for value. This was denied by the defendants, who also alleged that it had been paid. The only issues of fact submitted to the jury were:
"1. Did plaintiff's testator pay or purchase the note? Ans. — He purchased it.
"2. Has the note been paid? Ans. — No." *Page 17 
The findings of the jury on these issues are not reviewable in this Court, and we have nothing to consider except a plain question of practice, there being no exception to the charge of the Court (4) in any other respect. His Honor held that the affirmative was on the defendants, and required them to open the case to the jury by introducing evidence, and then allowed the plaintiff to open and conclude the argument, he having also introduced evidence. The defendants objected to this mode of proceeding, and we think their objections were well taken.Ei incumbit probatio qui dicit, non qui negat. Evidently the burden of proof on the first issue was on the plaintiff, for without proof on either side he would not have been entitled to a judgment, and this is the test in such cases. When both parties introduce evidence in a case like the present the plaintiff opens and concludes the argument. The rule that the party alleging an affirmative is bound to prove it, does not mean an affirmative in form merely, but the affirmative of any matter or relation, the truth of which is essential to the allegant's case.
These rules are important, manifestly convenient, and are agreeable to the suggestions of natural reason; but as they have been so often and so recently declared, we are content with a reference to a few authorities only. 1 Greenl. Ev., sec. 74; Starkie Ev., 585, 595 (10 Am. Ed.). Neal v.Fesperman, 46 N.C. 446; McRae v. Lawrence, 75 N.C. 289; Churchill v.Lee, 77 N.C. 341; Phelps v. Hartwell, 1 Mass. 71; Costigon v. R. R., 2 Denio, 609.
Let this be certified.
PER CURIAM.                                       Judgment reversed.
Cited: Wallace v. Robeson, 100 N.C. 206; McBrayer v. Haynes,132 N.C. 610.
(5)